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                    EXHIBIT B

                    REDLINE
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   )   Chapter 11
                                                         )
OFF LEASE ONLY LLC, et al.,1                             )   Case No. 23-11388 (CTG)
                                                         )
                             Debtors.                    )   (Jointly Administered)
                                                         )
                                                         )   Re: Docket No. 16

                          INTERIM ORDER (I) AUTHORIZING
                     THE DEBTORS TO PAY PREPETITION WAGES,
                SALARIES, OTHER COMPENSATION, AND REIMBURSABLE
                   EXPENSES, AND (II) GRANTING RELATED RELIEF

         Upon the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the

Debtors to Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses,

and (II) Granting Related Relief (the “Motion”)2 filed by the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”) for entry of an interim order (this “Interim

Order”), (i) authorizing the Debtors to pay all prepetition wages, salaries, other compensation,

reimbursable expenses, and other benefits on account of the Workforce Programs to the extent

any such amounts are accrued and unpaid, (ii) granting related relief, and (iii) scheduling a final

hearing to consider approval of the Motion on a final basis, all as more fully set forth in the

Motion; and upon consideration of the First Day Declaration and the record of these Chapter 11

Cases; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real
    Estate Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S.
    Congress Ave., Palm Springs, FL 33406.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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District of Delaware, dated February 29, 2012, and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and the First Day Declaration and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED on an interim basis as set forth in this Interim Order.

        2.       The final hearing (the “Final Hearing”) on the Motion shall be held on

_________September 26, 2023, at__:__ _ 9:30 a.m., prevailing Eastern Time. Any objections

or responses to entry of a final order on the Motion shall be filed with the Court, and served so as

to be received by the following parties, by no later than 4:00 p.m., prevailing Eastern Time,

on _________September 21, 2023: (i) proposed counsel to the Debtors, Proskauer Rose LLP,

Eleven Times Square, New York, NY 10036 (Attn: Brian S. Rosen (brosen@proskauer.com) and

Megan R. Volin (mvolin@proskauer.com); (ii) proposed co-counsel to the Debtors, Pachulski,

Stang, Ziehl, & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801

(Attn: Laura Davis Jones (ljones@pszjlaw.com); and (iii) Office of the United States Trustee, J.



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Caleb Boggs Federal Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801

(Attn: Richard Schepacarter (Richard.Schepacarter@usdoj.gov).

        3.       The Debtors are authorized, but not directed, in their discretion, to pay and honor

prepetition amounts related to the Workforce Programs, to the extent any such amounts are

accrued and outstanding, in connection with the Prepetition Employees, in an aggregate interim

amount not to exceed Three Hundred Fifty-Six Thousand One Hundred Dollars ($356,100.00)

pursuant to this Interim Order, consisting of (i) Two Hundred Fifty Thousand Dollars

($250,000.00) on account of Prepetition Employee Wages and Prepetition Commissions, (ii)

Fifteen Thousand One Hundred Dollars ($15,100.00) on account of Deductions held by the

Debtors for beneficiaries of garnishments, (iii) Fifty Thousand Dollars ($50,000.00) on account

of Reimbursable Expenses, (iv) Twenty-Six Thousand Dollars ($26,000.00) on account of the

Workers’ Compensation Program, and Fifteen Thousand Dollars ($15,000.00) on account of the

Vision Plans.

        4.       Nothing herein shall be deemed to authorize the payment of any prepetition

amounts above the statutory cap imposed by section 507(a)(4) and 507(a)(5) of the Bankruptcy

Code with respect to the prepetition amounts owed, if any, on account of the Workforce

Programs, except upon further order of this Court.

        5.       Nothing herein shall be deemed to authorize the payment of any amounts in

satisfaction of bonus or severance obligations that implicate section 503(c) of the Bankruptcy

Code; provided that nothing herein shall prejudice the Debtors’ ability to seek approval of relief

pursuant to section 503(c) of the Bankruptcy Code at a later time.

        6.       Pursuant to section 362(d) of the Bankruptcy Code, (a) Prepetition Employees are

authorized to proceed with their workers’ compensation claims in the appropriate judicial or



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administrative forum pursuant to the Workers’ Compensation Program, and the Debtors are

authorized to pay all undisputed prepetition amounts relating thereto in the ordinary course of

business, and (b) the notice requirements pursuant to Bankruptcy Rule 4001(d) with respect to

clause (a) are waived. This modification of the automatic stay pertains solely to claims under the

Workers’ Compensation Program, and any such claims must be pursued in accordance with the

applicable Workers’ Compensation Program. Payment on account of any recoveries obtained in

connection with a claim brought pursuant to this paragraph is limited to the terms and conditions

of the applicable Workers’ Compensation Program, including with regard to any policy limits or

caps.

        7.       Notwithstanding the relief granted in this Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to and in compliance with the

Court’s Interim Order (I) Authorizing the Use of Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief (the “Cash Collateral Order”) and the Budget (as

defined in the Cash Collateral Order). To the extent there is any inconsistency between the terms

of such Cash Collateral Order and any action taken or proposed to be taken hereunder, the terms

of such Cash Collateral Order and the Budget shall control.

        8.       7. Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay any prepetition claim; (d) an implication or admission that any particular

claim is of a type specified or defined in this Interim Order or the Motion; (e) a request or



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authorization to assume any prepetition agreement, contract, or lease pursuant to section 365 of

the Bankruptcy Code; (f) a waiver of the Debtors’ or any other party in interest’s rights pursuant

to the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors that any

liens (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

        9.       8. The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order.

        10.      9. The Debtors are authorized to issue postpetition checks, or to effect

postpetition fund transfer requests, in replacement of any checks or fund transfer requests that

are dishonored as a consequence of these Chapter 11 Cases with respect to prepetition amounts

owed in connection with the relief granted herein.

        11.      10. The contents of the Motion satisfy the requirements of Bankruptcy Rule

6003(b).

        12.      11. Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

        13.      12. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.



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        14.      13. The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Interim Order in accordance with the Motion.

        15.      14. This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




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                    DOCS_DE-#244717-v1-OLO-Original_Interim_Wages_Or
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                    DOCS_DE-#244836-v1-OLO-Final_Filed-Interim_Wages_
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Statistics:
                                      Count
Insertions                              20
Deletions                               14
Moved from                               0
Moved to                                 0
Style changes                            0
Format changes                           0
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